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UNITED STATES DISTRICT COURT

DISTRICT OF NEW MEXICO
STC.UNM,
Plaintiff,
VS. No. 10-CV-01077-RB-WDS
INTEL CORPORATION,
Defendant.

SANDIA CORPORATION’S RESPONSE TO STC.UNM’S RULE 19 MOTION TO
CORRECT STANDING AND REQUEST FOR RECONSIDERATION

COMES NOW Sandia Corporation (Sandia), by and through its attorneys, Stelzner,
Winter, Warburton, Flores, Sanchez & Dawes, P.A., and responds! to STC.UNM (STC)’s Rule
19 Motion to Correct Standing and Request for Reconsideration as follows:

I. INTRODUCTION

STC asserts in this action that Intel Corporation (Intel) has infringed patent rights it holds
under United States Patent No. 6,042,998 (“the ‘998 patent”). On January 19, 2012, Intel filed a
motion for summary judgment, in which it asserted that the ‘998 patent is unenforceable because
the ‘998 patent and U.S. Patent No. 5,705,321 (“the ‘321 patent”) are not commonly owned, as
required by a terminal disclaimer filed by STC with the United States Patent and Trademark
Office on May 18, 1999. This Court granted in part, and denied in part, Intel’s Motion for
Summary Judgment on May 8, 2012. Of significance to the instant Rule 19 Motion by STC, as
part of its decision on Intel’s Motion, the Court held that Sandia acquired joint ownership of the

‘998 patent through a December 1, 2011 assignment from STC. Because a co-owner lacks

* Sandia is not a party to this proceeding. And as detailed in this response, Sandia does not wish to
become a party to this proceeding. Sandia does, however, have an interest in the outcome of STC’s
motion, and for that reason, submits this response. To the extent intervention is necessary, Sandia seeks
to intervene in this matter for the limited purpose of opposing STC’s Rule 19 Motion.

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standing unless all co-owners join in.an action, STC now asks the Court to join Sandia as an
involuntary plaintiff under Federal Rule of Civil Procedure 19. In the alternative, STC asks the
Court to proceed without Sandia, under Rule 19(b).

As STC recognizes in its Motion, Sandia prefers to take a neutral position with respect to this
matter. Such neutrality cannot be maintained if Sandia is forced to become a plaintiff in this
action. It is for this reason, and because Sandia is not subject to involuntary joinder, that Sandia
has elected to affirmatively oppose STC’s effort to join Sandia.

Sandia cannot be forced to join this matter as an involuntary plaintiff under Rule 19(a)
because, as detailed below, co-owners of a patent cannot be forced to join infringement
proceedings such as this one. Involuntary joinder is only appropriate in very narrow
circumstances, which do not exist-here. In particular, despite STC’s efforts to argue otherwise,
STC is not an exclusive licensee of the ‘998 patent. Accordingly, Sandia asks the Court to
decline to involuntarily join Sandia under Rule 19(a).’

II. SANDIA CANNOT BE INVOLUNTARILY JOINED IN THIS MATTER

The Court held in its May 8, 2012 decision that Sandia acquired an undivided ownership
interest in the ‘998 patent as a result of STC’s December 1, 2011 assignment. This created an
issue of standing for STC. Specifically, “[w]here one co-owner possesses an undivided part of
the entire patent, that joint owner must join all other co-owners to establish standing.” Israel

Bio-Engineering Project v. Amgen, Inc., 475 F.3d 1256, 1264-65 (Fed. Cir. 2007); see also

* With respect to STC’s 19(b) argument, Sandia would like to clarify that it is not, as argued by STC, a
“quasi-governmental entity.” See Motion at 3. Instead, Sandia is a private corporation that manages and
operates Sandia National Laboratories under contract no. DE-AC04-94AL85000 with the United States
Department of Energy as a Federally Funded Research and Development Center (FFRDC) in accordance
with United States Code of Federal Regulations Title 48, Part 35, Section 35.017.

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Ethicon Inc. v. United States Surgical Corp., 135 F.3d 1456, 1467 (Fed. Cir. 1998) (“An action
for infringement must join as plaintiffs all co-owners.”).

“Ordinarily, one co-owner has the right to impede the other co-owner's ability to sue
infringers by refusing to voluntarily join in such a suit.” Schering Corp. v. Roussel-UCLAF SA,
104 F.3d 341, 345 (Fed. Cir. 1997); see also Ethicon, 135 F.3d at 1468 (“as a matter of
substantive patent law, all co-owners must ordinarily consent to join as plaintiffs in an
infringement suit”). As recognized by the Court in Ethicon, this principle is consistent with §
262 of the Patent Act, which provides that “[iJn the absence of any agreement to the contrary,
each of the joint owners of a patent may make, use, offer to sell, or sell the patented invention
within the United States, or import the patented invention into the United States, without the
consent of and without accounting to the other owners.” See Ethicon, 135 F.3d at 1468; 35
U.S.C. § 262. Moreover, the Federal Circuit has “explicitly held that Rule 19 does not permit the
involuntary joinder of a patent co-owner in an infringement suit brought by another co-owner.”
DDB Techs., L.L.C. v. MLD Advanced Media, L.P., 517 F.3d 1284, 1289 n.2 (Fed. Cir. 2008).

STC acknowledges in its Motion that Rule 19(a) cannot be used to involuntarily join a patent
owner, but relies on an exception to the general rule relating to exclusive licensees. See Motion
at2. “[W]hen any patent owner has granted an exclusive license, he stands in a relationship of
trust to his licensee.” Ethicon, 135 F.3d at 1467 n. 9. For this reason “an exclusive licensee may
join the patent owner as an involuntary plaintiff in an infringement suit.” DDB Techs., 517 F.3d
at 1289 n.2; see also Ethicon, 135 F.3d at 1467 n. 9.

In an effort to fit within this exception, STC asserts that a 2009 Commercialization
Agreement makes STC the exclusive licensee of the ‘998 patent. See Motion at 3-4. Sandia

notes as an initial matter that the Court held in its recent decision on Intel’s motion for summary

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judgment that Sandia did not acquire an interest in the ‘998 patent until STC’s recent December,
2011 assignment. See MOO, Doe. No. 206, at 22. STC’s suggestion that Sandia had an interest
prior to December, 2011 capable of supporting the grant of an exclusive license is inconsistent
with the Court’s decision concerning ownership of the ‘998 patent. Sandia could not have
granted an exclusive license in the ‘998 patent to STC, when Sandia lacked an interest in the
‘998 patent. See Ballentine’s Law Dictionary, Definition of “exclusive license” (“A grant by the
proprietor of a patent to another person of the right to make, use, or sell the patented article,
including the condition that the grantor will grant no further license of the kind in respect of such
article to any other person.”

In any event, STC’s arguments concerning the Commercialization Agreement rest on an
unwarranted extension of the scope of the Commercialization Agreement, and a strained
interpretation of the Agreement’s language. In June 2009, STC, UNM, and Sandia entered into
the Commercialization Agreement on which STC now relies. The agreement defines the
“Intellectual Property” to which it relates as:

Technology was disclosed to STC on September 20, 1993 in SD-5308
(Sandia//UNM-322 (STC) |

U.S. Issued Patent No. 5,705,321 issued on January 6, 1998

Title: “Method for Manufacture of Quantum Sized Periodic Structures in Si
Materials”

Inventors: Steven R.J. Brueck, Saleem H. Zaidi, An-Shyang Chu, and Bruce Draper

Commercialization Agreement, Intellectual Property, ¥ 1.

STC argues that that the term “Intellectual Property” “was intended to act as [a] catch-all that
sweeps all patents originating from the ‘technology’ [disclosed in UNM-322/SD-5308],
including the ‘998.” Motion at 4. But this argument simply cannot be reconciled with the plain

language of the Commercialization Agreement.

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First, in contrast to the express reference to the ‘321 patent, no mention is made of the ‘998
patent. And this Court has already recognized that the Commercialization Agreement relates
only to the ‘321 patent. See id. at 5 (STC and Sandia “did not enter into any Commercialization
Agreement regarding ‘998, however, as STC considered itself the owner of a 100% interest in
that patent”).

The Commercialization Agreement further reflects its application to only the ‘321 patent by
identifying Bruce Draper as one of the inventors of the Intellectual Property. See
Commercialization Agreement, Background, § 1. Notably, Mr. Draper was an inventor of the
‘321 patent, but not the ‘998 patent. See MOO, Doc. No. 206 at 11 (“It is undisputed that Draper
did not co-invent any claims of the °998 patent.”); id. at 3 (Draper was named as co-inventor of
the ‘321 patent).

STC argues that, by listing the employment of the inventors separately in the
“Background” heading of the Commercialization Agreement, “STC and Sandia understood that
the Intellectual Property covered by the Commercialization Agreement was a combination of
intellectual property each considered to be entirely their own.” Motion at 6. However, the intent
of that separate listing was plainly not to expand the Agreement’s coverage to all patents
originating from the inventions created by all four inventors, whether made individually, or
together, but simply to provide a basis for the pro-rata distribution of the Licensing Income to the

respective employers. See Commercialization Agreement, Division of Commercialization

Proceeds, { 3, and Exhibit A, Worksheet to Calculate Division of Commercialization Proceeds. .
Moreover, even if the Commercialization Agreement could be expansively interpreted as
encompassing the ‘998 patent, it falls far short of granting STC the exclusive license that would

be required to involuntarily join Sandia. See Ethicon, 135 F.3d at 1467 n. 9. The Agreement

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provides that “The PARTIES agree that STC, as PATENTING LEAD, shall undertake all
patenting and prosecution or other protection of the INTELLECTUAL PROPERTY.”

Commercialization Agreement, Responsible Party, J 1. STC argues, without citation to any

authority, that the term “protection” included in the agreement, “includes, among other things,
obtaining rights as well as preventing the loss of rights.” See Response at 5. But even
acceptance of this unsupported definition cannot bridge the gap to the conclusion that STC was
granted an exclusive license.

The Commercialization Agreement, at most, makes STC an exclusive licensing agent of
the ‘321 patent—which is entirely distinct from an exclusive licensee. A license is a grant of
rights from a patent owner to a non-owner, under which the patent-owner agrees not to sue the
non-owner for infringement. See Spindelfabrik Suessen-Schurr Stahlecker & Grill GmbH, v.
Schubert & Salzer Maschinenfabrik Aktiengesellschaft, 829 F.2d 1075, 1081 (Fed. Cir. 1987) (“a
patent license agreement is in essence nothing more than a promise by the licensor not to sue the
licensee”); see also, e.g. Rite-Hite Corp. v. Kelly Co., 56 F.3d 1538, 1552 (Fed. Cir. 1995).
There would have been no need for Sandia to grant an exclusive license to STC through the
Commercialization Agreement because Sandia and STC jointly own the ‘321 patent, and again,
Sandia could not have granted STC an exclusive license to the ‘998 patent because it lacked an
interest in the ‘998 patent at the time the Commercialization Agreement was executed.

What the Commercialization Agreement in fact does is put STC in charge of licensing to
any third parties. It provides:
SANDIA agrees to refrain from licensing the INTELLECTUAL PROPERTY.

SANDIA shall refer all inquiries regarding licensing for the INTELLECTUAL
PROPERTY to STC and this party shall be referred to as the LICENSING PARTY.

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Consistent with this plain language, the 1994 letter on which STC relies indicates that
STC will be made “the exclusive licensing agent”—not an exclusive licensee, as STC represents.
See Exhibit D to Motion; Motion at 6.

Also reflecting STC’s role as licensing agent is the provision of the Commercialization
Agreement allowing costs incurred by STC in its roles as Patenting Lead and Licensing Party to
be deducted from the Licensing Income to be shared by the parties under the terms of the
Agreement. Under the heading “Division of Commercialization Proceeds”, the
Commercialization Agreement provides:

The PARTIES agree to reimburse the PATENTING LEAD, from LICENSING

INCOME, patent costs of $20,000 as set out in the MOU for patent preparation

and prosecution, plus all out-of-pocket fees paid to the USPTO. Such out-of-

pocket fees paid to the USPTO shall be evidenced by actual invoices for the filing

and prosecution of any patent applications and the issuance and maintenance of

any patents protecting the INTELLECTUAL PROPERTY and shall not exceed

$25,000 per U.S. patent.

Commercialization Agreement, Division of Commercialization Proceeds, 2. STC argues that

“af the CA were limited to the ‘321 patent, there would be no need to include these forward-
looking terms in the CA.” Motion at 5. But that interpretation is not supported by the terms of
the Agreement, or the context in which the Agreement was executed.

Even if the terms were interpreted to be forward-looking, this provision could not reflect an
intent to extend the Commercialization Agreement to the ‘998 patent because the ‘998 patent
issued on March 28, 2000 and the United States Patent and Trademark Office granted STC’s
petition to make the ‘998 patent a continuation-in-part of the ‘321 patent on December 30, 2008,
long before the Commercialization Agreement was signed on June 30, 2009. See MOO, Doc.

No. 206 (May 8, 2012), at 5 (‘998 patent issued on March 28, 2000).

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Furthermore, when this provision is considered along with the other paragraphs under the
heading “Division of Commercialization Proceeds,” it is clear that the parties’ intent was merely
to ensure that STC would be able to deduct expenses incurred in its role as Patenting Lead and
Licensing Party from licensing proceeds to be shared with Sandia. In that regard, Sandia notes
that paragraph 1 under the same heading defines “LICENSING INCOME?” as “all consideration
received by either party in any form from transferring rights in the INTELLECTUAL
PROPERTY,” and paragraph 3 under the same heading details how the “LICENSING
INCOME?” is to be shared between STC and Sandia. See Commercialization Agreement,

Division of Commercialization Proceeds, ff 1,3. Therefore, these terms were needed because,

at the time the Commercialization Agreement was executed on June 30, 2009, the ‘321 patent
had apparently not yet been licensed to third parties by STC. STC did not make any payment to
Sandia for licensing of the ‘321 patent until December 3, 2009, when Sandia received a check
payment of $2,076.20 for licensing by STC of the ‘321 patent to Toshiba Corporation. See
SNL00000250-252, attached hereto as Exhibit A. Thus, paragraph 2 under “Division of
Commercialization Proceeds” not only cannot be interpreted as reflecting an intent to extend the
scope of the Commercialization Agreement, but also demonstrates that STC was merely made a
licensing agent—not an exclusive licensee.

In sum, the 2009 Commercialization Agreement related to the ‘321 patent cannot plausibly
be interpreted as making STC an exclusive licensee of the ‘998 patent. The Agreement not only
fails to mention the ‘998 patent, but also expressly relates only to the ‘321 patent. And even if
the Agreement could somehow be interpreted as extending to the ‘998 patent, under the Court’s
previous ruling, Sandia lacked an ownership interest in the ‘998 patent at the time the

Commercialization Agreement was signed, giving it no basis on which to make STC an

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exclusive licensee. Furthermore, the Commercialization Agreement does not grant an exclusive
license, but rather, merely puts STC in charge of licensing the intellectual property to third
parties. STC has consequently failed to fall within the exclusive-licensee exception to the rule
precluding involuntary joinder of co-owners of a patent. The Court must therefore decline to
join Sandia under Rule 19(a).

Ill. MR. BIEG’S DECLARATION DOES NOT CONCERN THE ‘998 PATENT.

Finally, STC asserts that “[t]he Court should reconsider its decision that Sandia has not been
the owner of the ‘998 patent since at least .. . December, 2008, if not earlier, as a result of the
new evidence contained in the June 6, 2012 Declaration of Kevin Bieg.” Motion at 9. STC
relies in particular on Mr. Bieg’s reference to the Atomic Energy Act, 42 U.S.C. § 5908.

Sandia takes no position on whether the Court should reconsider its May 8, 2012
Memorandum Opinion and Order. Sandia nonetheless notes that Mr. Bieg’s declaration simply
clarifies ownership of the ‘321 patent. As detailed in Mr. Bieg’s declaration, under the Atomic
Energy Act, the United States automatically acquired title to the ‘321 patent by virtue of Sandia’s
contract with the Department of Energy, and Mr. Draper’s employment contract with Sandia.
Bieg Declaration, Exhibit B to Motion, 48. The Department of Energy subsequently allowed
Sandia to retain title to the ‘321 patent. See id. In contrast, as recognized by the Court in its
May 8, 2012 decision, Mr. Draper was not an inventor of the ‘998 patent. See MOO, Doc. No.
206 (May 8, 2012). Thus, the United States did not acquire an interest in the ‘998 patent through
Sandia or Mr. Draper under the Atomic Energy Act’s automatic-vesting provision. See 42
U.S.C. § 5908(a) (automatic vesting provision applies when an “invention is made or conceived

in the course of or under any contract of the Department” and the inventor has an employment

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connection to that contract). Mr. Bieg’s declaration was therefore not intended to have any,
bearing on the issue of ownership of the ‘998 patent.

IV. CONCLUSION

Although all co-owners of a patent are considered to be necessary parties to an

infringement action, their joinder must be voluntary. A co-owner like Sandia cannot be forced
under Rule 19(a) to participate as a plaintiff in an infringement action. And while there are
limited exceptions to the rule requiring voluntary joinder, STC has failed to establish an
exception applies. Sandia did not, contrary to STC’s contentions, make STC an exclusive
licensee of the ‘998 patent. STC consequently cannot compel Sandia to become a party to this

matter.

Dated: July 3, 2012 Respectfully submitted,

STELZNER, WINTER, WARBURTON,
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on July 3, 2012, the foregoing document was
electronically filed with the Clerk of the Court using the CM/ECF system, which will
automatically send notification of such filing to all counsel who have entered an appearance in

this action.

/s/ Luis G. Stelzner
Luis G. Stelzner

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